          Case 2:16-cr-00503-MMB Document 77 Filed 01/05/24 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                              CRIMINAL ACTION

         v.                                            NO. 16-503

 DINO PAOLUCCI


                                               ORDER

        Pro Se Petitioner has moved for a sentencing modification for compassionate release and

also under 18 U.S.C. § 3582(c)(1)(A). The Government has filed an opposition. For the reasons

stated in the Government’s opposition, which are accurate as to the nature of the crime

committed by Defendant and the circumstances of his incarceration, Petitioner does not present a

compelling case for compassionate release at this time.

        As to the sentence reduction under Section 3582(c)(2), although the Petitioner does

qualify for this relief because he had zero criminal history, the circumstances of his crime

warrant the Court denying relief. Defendant was a leader of a very sophisticated fraud, resulted

in losses to innocent victims of over $25 million. For these reasons, the Defendant’s motion for

sentencing modification (ECF 74) is DENIED.

                                                          BY THE COURT:

                                                          /s/ Michael M. Baylson
Dated: January 5, 2024                                    _______________________________
                                                          MICHAEL M. BAYLSON, U.S.D.J.

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